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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                 17 Cr. 630 (ER)

5    DAVID R. PIKE,

6                     Defendant.

7    ------------------------------x
                                                    New York, N.Y.
8                                                   February 6, 2020
                                                    2:30 p.m.
9
     Before:
10
                              HON. EDGARDO RAMOS,
11
                                                    District Judge
12
                                   APPEARANCES
13
     GEOFFREY S. BERMAN
14        United States Attorney for the
          Southern District of New York
15   BY: NICHOLAS FOLLY
          JULIETA V. LOZANO
16        Assistant United States Attorneys

17   RASKIN & RASKIN, P.A.
          Attorneys for Defendant
18   BY: MARTIN R. RASKIN
          JANE S. RASKIN
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1              (Case called)

2              THE DEPUTY CLERK:     Counsel, please state your name for

3    the record.

4              MR. FOLLY:    Good afternoon, your Honor.       Nicholas

5    Folly and Julieta Lozano on behalf of the United States.

6              MR. RASKIN:    Good afternoon, your Honor.        Martin

7    Raskin on behalf of Mr. Pike, who is present in court.              And

8    also with me is Jane Raskin, also counsel for Mr. Pike.

9              THE COURT:    Good afternoon to you both.

10             Mr. Folly, what are we doing?

11             MR. FOLLY:    Yes, your Honor.     The defendant was

12   originally charged in a complaint and that's what he is

13   currently charged on.      The parties since that time have been

14   trying to negotiate actually a pre-indictment disposition to

15   the case.   At this point we are nearing an agreement on a plea

16   agreement wherein the defendant would plead to the count that

17   is charged in the superseding information.

18             So at this point the defendant is prepared today to

19   waive indictment on the information that is labeled S11 and is

20   in front of your Honor, and we just ask at this stage to set a

21   control date for the plea proceeding approximately four weeks

22   out.   The parties just need a little bit more time, but the

23   defendant is prepared to go forward with the plea.           And we just

24   ask that we be able to communicate with your deputy about an

25   appropriate date.     We can set a control date for now, and then


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1    if we need to modify it, we will reach out to the Court by

2    letter to do that.

3              THE COURT:    So that I am clear, the letter that I have

4    is purely an offer.     I do have a letter that purports to be a

5    plea agreement from Mr. Folly's office.

6              MR. FOLLY:    That is correct, your Honor.        It's merely

7    an offer at this stage, but the parties are continuing to have

8    discussions about it.      It may be that it changes slightly from

9    the form that it is currently in before the defendant is

10   prepared to actually enter into it.

11             THE COURT:    So we are just waiving indictment today.

12             MR. FOLLY:    That's correct.

13             THE COURT:    Mr. Raskin.

14             MR. RASKIN:    Yes, sir.

15             THE COURT:    Is that your understanding of what is

16   happening today?

17             MR. RASKIN:    It is.

18             THE COURT:    Thank you.

19             Mr. Pike, your attorneys have advised me that you are

20   willing at this point to waive -- you can remain seated -- to

21   waive indictment to a felony charge.        That's a very important

22   decision.   You would be giving up some very important rights in

23   order to do that.     So I just want to make sure that you have

24   had an adequate opportunity to speak with your attorneys about

25   this decision and that the decision is being made knowingly by


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1    you with an understanding of all the rights that you are giving

2    up.   OK?

3                THE DEFENDANT:   Yes, sir.

4                THE COURT:   In order to make sure that that is the

5    case, I am going to ask you a series of questions, and it's

6    vitally important that you be absolutely truthful so I am going

7    to have you placed under oath.       OK?

8                THE DEFENDANT:   Yes.

9                (Defendant sworn)

10               THE COURT:   Sir, you may be seated.

11               You are now under oath and I want you to understand

12   that if you answer any of my questions falsely, your answers

13   could be used against you in a prosecution for perjury or for

14   making a false statement.

15               Do you understand that?

16               THE DEFENDANT:   Yes, sir.

17               THE COURT:   So I am going to ask you a series of

18   questions.     If I ask you a question and you don't understand

19   it, simply tell me that and I will rephrase it.          If I ask you a

20   question and you wish to speak with your attorneys before you

21   answer, just let me know that and I will accommodate you.           OK?

22               THE DEFENDANT:   All right.

23               THE COURT:   We are going to start with some background

24   questions.

25               Could you please tell me, what is your full name?


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1              THE DEFENDANT:     David Russell Pike.

2              THE COURT:    How old are you, sir?

3              THE DEFENDANT:     60.

4              THE COURT:    How far did you get in school?

5              THE DEFENDANT:     I have some college.

6              THE COURT:    Are you able to read and write in English?

7              THE DEFENDANT:     I am.

8              THE COURT:    Are you now or have you recently been

9    under the care of a doctor or a psychiatrist?

10             THE DEFENDANT:     No, sir.

11             THE COURT:    Have you ever been treated or hospitalized

12   for any mental illness or any type of addiction, including drug

13   or alcohol addiction?

14             THE DEFENDANT:     No, sir.

15             THE COURT:    In the last 24 hours, have you taken any

16   drugs, medicine or pills, or have you consumed any alcohol?

17             THE DEFENDANT:     Yes, sir.

18             THE COURT:    Tell me about that.      What have you taken

19   over the last 24 hours?

20             THE DEFENDANT:     I had wine with dinner yesterday.

21             THE COURT:    How are you feeling today?       Is your mind

22   clear today?

23             THE DEFENDANT:     Yes.

24             THE COURT:    Does wine affect your ability to remember

25   or to think?


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1              THE DEFENDANT:     No, sir.

2              THE COURT:    Are you feeling well enough to proceed and

3    to understand what is going on here today?

4              THE DEFENDANT:     Yes, sir.

5              THE COURT:    Mr. Pike, your attorneys have informed me

6    that you wish to waive indictment.        Is that correct?

7              THE DEFENDANT:     Yes, sir.

8              THE COURT:    Sir, have you had a full opportunity to

9    discuss that decision with your attorneys?

10             THE DEFENDANT:     Yes, sir.

11             THE COURT:    Are you satisfied with your attorneys and

12   their representation of you?

13             THE DEFENDANT:     Yes, sir.

14             THE COURT:    Does either counsel have any doubt as to

15   Mr. Pike's competence to waive indictment at this time?

16             MR. FOLLY:    No, your Honor.

17             THE COURT:    On the basis of Mr. Pike's responses to my

18   questions and my observations of his demeanor, I find that he

19   is fully competent to waive indictment at this time.

20             Sir, have you received a copy of the superseding

21   information?

22             THE DEFENDANT:     Yes, sir.

23             THE COURT:    Did you discuss the information with your

24   attorneys?

25             THE DEFENDANT:     Yes, sir.


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1              THE COURT:    Do you understand that that document is

2    called a felony information?

3              THE DEFENDANT:     I'm sorry, sir?

4              THE COURT:    Do you understand that that document is

5    called a felony information?

6              THE DEFENDANT:     I do, sir.

7              THE COURT:    Do you understand that the information was

8    issued by the United States attorney in this district,

9    Mr. Geoffrey Berman?

10             THE DEFENDANT:     I do.

11             THE COURT:    And because the charges against you in

12   that information are serious charges, indeed, it is a felony,

13   you have a constitutional right to require the government to

14   present evidence to a grand jury to see whether the grand jury

15   would vote to charge you with that crime.

16             Do you understand that?

17             THE DEFENDANT:     Yes, sir.

18             THE COURT:    Do you understand that a grand jury is a

19   group made up of at least 16, but not more than 23 citizens

20   from this district, and that at least 12 of them would have to

21   agree that there was probable cause to believe that a crime was

22   committed and that you committed that crime before you could be

23   indicted?

24             THE DEFENDANT:     Yes, sir.

25             THE COURT:    Do you understand that if the grand jury


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1    voted to charge you, the document they issue would be called an

2    indictment, and it would be signed both by the foreperson of

3    the grand jury and by the United States attorney?

4              Do you understand that?

5              THE DEFENDANT:     Yes, sir.

6              THE COURT:    Mr. Pike, do you wish to give up your

7    right to have your case presented to the grand jury?

8              THE DEFENDANT:     I do, sir.

9              THE COURT:    Did you discuss that decision thoroughly

10   with your lawyers?

11             THE DEFENDANT:     Yes, sir.

12             THE COURT:    Now, sir, I have been provided with a

13   document known as a waiver of indictment, which has today's

14   date, and it purports to have your signature as well as that of

15   your attorney, one of your attorneys.

16             So I just want to hold that up.        Can you see that from

17   where you are seated?

18             THE DEFENDANT:     Yes.

19             THE COURT:    Is that your signature on this document?

20             THE DEFENDANT:     Yes.

21             THE COURT:    When you signed this document, did you

22   sign it voluntarily?

23             THE DEFENDANT:     Yes, sir.

24             THE COURT:    Before you signed it, did you discuss this

25   decision thoroughly with your lawyers?


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1              THE DEFENDANT:     Yes, sir.

2              THE COURT:    Very well.    This document will be marked

3    as Court Exhibit 1.

4              When you signed it, Mr. Pike, did you understand that

5    you were acknowledging your willingness to give up your right

6    to be charged by the grand jury?

7              THE DEFENDANT:     Yes, sir.

8              THE COURT:    Did anyone threaten or force you to give

9    up that right?

10             THE DEFENDANT:     No, sir.

11             THE COURT:    Very well.    I find that Mr. Pike has

12   knowingly and voluntarily waived his right to be indicted by a

13   grand jury and the information will be accepted for filing.

14             Mr. Raskin, do you wish me to read the superseding

15   information?

16             MR. RASKIN:    No.   We will waive a reading, your Honor.

17             THE COURT:    Very well.    Mr. Pike, do you understand

18   that you are charged in this superseding information with one

19   count of bank fraud?

20             THE DEFENDANT:     I do, sir.

21             THE COURT:    Mr. Folly, do you wish me to ask any

22   additional questions?

23             MR. FOLLY:    No, your Honor.

24             THE COURT:    Mr. Raskin or Ms. Raskin, do you wish me

25   to ask any additional questions?


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1               MR. RASKIN:    No, your Honor.

2               THE COURT:    In that event, what else can we do today?

3    Do we have a date to come back?

4               MR. FOLLY:    Your Honor, just two requests from the

5    government.    We would request just scheduling a control date,

6    that is, four weeks from today, March 5, for the plea

7    proceeding, with the understanding that we will reach out to

8    your Honor's deputy to adjust that date depending on the

9    parties' schedules and whether we are ready at that point to go

10   forward.

11              The other only two requests are that the government

12   moves to exclude time between now and that control date on

13   March 5 in the interests of justice so that the parties can

14   finalize a pretrial disposition in this matter.          I understand

15   that defense counsel consents to that request.          And we would

16   also just ask that the production of discovery be stayed for

17   now at least until that date.

18              THE COURT:    Very well.   Mr. Raskin, are you available

19   on March 5?

20              MR. RASKIN:    I don't know.    Probably.    I had my

21   electronics taken away at the door so I will have to check.

22   Let's do that, and if it's a problem, I will let the Court

23   know.

24              THE COURT:    Very well.   More importantly, was that

25   date cleared with Ms. Rivera?


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1              MR. FOLLY:    It has not been.     I am putting that there

2    because it's four weeks from today, but I understand that the

3    Court may have other obligations.

4              THE COURT:    We will put it down for March 5.        And for

5    lack of a better time, we will put it down for 2:30 on March 5.

6              MR. RASKIN:    One more thing, your Honor.       Mr. Pike is

7    on bond, and we understand that bond carries over.          We have

8    discussed with the government extending his bond.          Right now he

9    is restricted to the Southern District of Florida and the

10   District of Massachusetts for business and the Eastern and

11   Southern Districts of New York for court.         I would like to ask

12   that it be extended to the Middle District of Florida with

13   advance notice to pretrial services.

14             THE COURT:    Any objection?

15             MR. FOLLY:    No, your Honor.

16             THE COURT:    Very well.    So your bond can be extended

17   to the Middle District of Florida.

18             On the question of speedy trial, Mr. Raskin.

19             MR. RASKIN:    I was under the impression it didn't

20   start until after he was arraigned.        If not, we will waive.

21             THE COURT:    Actually, I should arraign him on the

22   information.

23             MR. FOLLY:    Yes, your Honor.

24             THE COURT:    How do you plead to the information,

25   guilty or not guilty?


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1              MR. RASKIN:    Not guilty.

2              THE COURT:    Very well.    Anything else that we need to

3    do in that regard, Mr. Folly?

4              MR. FOLLY:    No, your Honor.

5              THE COURT:    On the question of speedy trial, sir.

6              MR. RASKIN:    We waive.

7              THE COURT:    Very well.    So I will exclude the time

8    between now and March 5 under the speedy trial clock.           I find

9    that Mr. Pike's interests outweigh the interests of the public

10   in a speedy and public trial for the reasons set forth on the

11   record by Mr. Folly.     That time will be excluded, and I will

12   depend on the government to reach out to chambers to let us

13   know at what time we can conveniently meet again for purposes

14   of the plea.

15             Anything else that we can do today, sir?

16             MR. FOLLY:    Not from the government, your Honor.

17             THE COURT:    Mr. Raskin.

18             MR. RASKIN:    Nothing else, your Honor.

19             THE COURT:    In that event, we are adjourned, and we

20   will see you in March.

21             Here is your original waiver and the superseding

22   information.

23             Thank you, folks.

24             (Adjourned)

25


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